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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:15CR200

       vs.
                                                                           ORDER
BRANDON FANDERS,

                       Defendant.


       This matter is before the Court on the defendant’s Motion for Copies (Filing No. 106). The
defendant requests a copy of his Docket Sheet, Indictment, Plea Agreement, and Judgment in this
criminal case, and further requests that fees for the copies be waived. Upon review of the case file,
the Court notes that the defendant was sentenced on January 23, 2017 (Filing No. 103), and
Judgment was entered on January 26, 2017 (Filing No. 104). No appeal was timely filed. The
defendant has not set forth a valid reason why copies of his Docket Sheet, Indictment, Plea
Agreement and Judgment should be provided without payment. Therefore, the defendant’s Motion
for Copies (Filing No. 106) will be denied. The defendant is free to contact the Clerk’s Office for the
U.S. District Court to inquire as to the cost of copies in this matter. Copies will not be provided
without pre-payment.


       IT IS ORDERED:
       1.      The defendant’s MOTION for Copies [106] is denied.
       2.      The Clerk of the Court is directed to mail a copy of this order to the defendant at his
last known address.
       3.      The defendant is free to contact the Clerk’s Office for the U.S. District Court to
inquire as to the cost of copies in this matter. Copies will not be provided without pre-payment.


       Dated this 8th day of March, 2017.

                                                       BY THE COURT:

                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
